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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION

 GRANGE INSURANCE COMPANY                            :
                                                     :
                Plaintiff,                           :
                                                     :
 vs.                                                 :    Civil Action File No.
                                                     :    4:21-CV-00147- AT
 CYCLE-TEX, INC., and JARROD                         :
 JOHNSON, individually, and on Be-                   :
 half of a Class of persons similarly                :
 situated,                                           :
                                                     :
                Defendants.                          :

                    Grange Insurance Company’s Brief
              In Support Of Its Motion For Summary Judgment

       This is a declaratory judgment action in which Grange Insurance Company seeks

a declaration that it owes no insurance coverage obligations to Cycle Tex, Inc. in con-

nection with the claims asserted against it in the underlying lawsuit styled Jarrod Johnson,

individually and on Behalf of a Class of persons similarly situated, v. Cycle-Tex, Inc., et al, Civil

Action No. 4:20-cv-0008-AT, United States District Court for the Northern District of

Georgia, Rome Division. The insurance policy at issue is policy no. CPP 2083060

03, issued to Cycle Tex, Inc. [Policies issued for the years 2014-2018 are submitted

separately as Exhibit 1]. This summary judgment motion is primarily based on a Total

Pollu-tion Exclusion, which precludes coverage for the Underlying Lawsuit.

       Cycle Tex, Inc. falls within the category of defendants in the Underlying Lawsuit

labeled by this Court as “Manufacturing Defendants (including alleged dischargers
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directly involved with the carpet manufacturing industry).” [Order, Jarrod Johnson, indi-

vidually and on Behalf of a Class of persons similarly situated v. 3M et al., pg. 5 (09/20/2021)].

References to the “Underlying Order” in this brief are to that September 2021 Order.

       Jarrod Johnson, individually and on Behalf of a Class of persons similarly situ-

ated (the “Underlying Plaintiff ”), alleges that the carpet manufacturing industry in

Northwest, Georgia (in addition to others) caused serious harm to residents of North-

west Georgia by contributing to or causing the discharge of “toxic” and “everlasting”

chemicals, known as PFAS, into North Georgia waterways around Dalton, Georgia. [See

Underlying Order at pp. 1-2]. Through their discharge of toxic and everlasting chemi-

cals, the Manufacturing Defendants allegedly contaminated the City of Rome and Floyd

County’s water supplies. [See Underlying Order at 8]. And as a result of that contami-

nation, the Underlying Plaintiff allegedly suffered the following damages: 1) harm to

their person by virtue of ingesting contaminated water; 2) property damage “as a direct

result of the contamination of the Rome water supply” and; 3) the payment of sur-

charges and heightened water rates to recoup the costs of removing the contamination.

[Id 13-14; See also Id. 71-72].

       The Underlying Plaintiff alleges Manufacturing Defendants, such as Cycle Tex,

Inc., allegedly caused those damages by discharging industrial waste water containing

PFAS into the City of Dalton’s Publicly Owned Treatment Works (“POTW”). “The

PFAS resist degradation during treatment processing at the POTW” and eventually

reach several Northwest Georgia waterways after first migrating through the Riverbend

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Land Application System. [See Underlying Order at 9-111]. Or, more succinctly stated:

“Plaintiffs allege that the Manufacturing Defendants . . . knew or should have known

that their discharge of toxic PFAS chemicals would result in contamination of surface

waters . . . that provide the source of downstream domestic water supplies, thereby

endangering human health and the environment.” [Underlying September 2021 Order

at 109].

       There is also no legitimate question that the Grange Policy was never intended

to provide, and does not provide, insurance coverage for those claims. In particular, the

Grange Policy contains a Total Pollution Exclusion, which precludes coverage for bod-

ily injury or property damage, “which would not have occurred in whole or part but for

the actual alleged or threatened discharge, dispersal, seepage, migration, release or es-

cape of ‘pollutants’ at any time.” [Exhibit 1, p. 409]. In addition, the Total Pollution

Exclusion precludes coverage for “any loss, cost or expense arising out of any: (a) Re-

quest, demand, order or statutory or regulatory requirement that any insured or others

test for, monitor, clean up, remove, contain, treat, detoxify, or neutralize, or in any way

respond to, or assess the effects of “pollutants.”’ Id. The allegations asserted against

Cycle Tex, Inc. in the Underlying Lawsuit fall squarely within that exclusion; entitling

Grange to summary judgment.



   1This Court comprehensively detailed the Underlying Plaintiff’s allegations and legal argu-
ments in its 182-page order. To make this motion a self-contained document, Grange has sum-
marized certain portions of that Order that it contends are especially relevant to this motion.

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       As this Court pointed out in Lang v. FCCI Ins. Co., 530 F. Supp. 3d 1299 (N.D.

Ga. 2021), Georgia courts have upheld broad definitions of “pollutants” contained in

pollution exclusions. But the Total Pollution Exclusion in the Grange Policy need not

be construed broadly for the Underlying Lawsuit to qualify as a claim for damages aris-

ing out of pollution. Indeed, the Underlying Plaintiff ’s claims against the Manufacturing

Defendants are a quintessential class-action pollution lawsuit alleging a manufacturer’s

discharge of chemicals polluted drinking water. See e.g., Anderson v. Cryovac, Inc., 96 F.R.D.

431 (D. Mass. 1983) (One of several class-action lawsuits, made famous by the non-

fiction book, A Civil Action, in which manufacturing defendants were sued for con-

taminating the Woburn, Massachusetts water supply with industrial solvents); Anderson,

et al. v. Pacific Gas and Electric (Superior Ct. for County of San Bernardino, Barstow Di-

vision, file BCV 00300) (class-action against PG&E for groundwater contamination

and basis for major motion picture, Erin Brockovich). In sum, the Grange Policy’s pol-

lution exclusion precludes coverage for the Underlying Lawsuit.

       An independent basis for this summary judgment motion is that Cycle Tex, Inc.

failed to provide Grange with prompt notice of the events giving rise to the Underlying

Lawsuit. Timely notice is a condition precedent to coverage under the Grange Policy.

The Underlying Lawsuit asserts, however, that Cycle-Tex, Inc. polluted Northwest

Georgia’s waterways for over a decade before the Underlying Lawsuit was filed in No-

vember of 2019. Grange, however, was first notified of these allegations in October of

2020. It promptly reserved its rights. [Compl. Ex. C].

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      Finally, and separately, the Underlying Plaintiff ’s most serious claims against Cy-

cle Tex, Inc. in the Underlying Lawsuit—that Cycle-Tex was an intentional polluter—

is excluded from coverage because the Grange Policy does not provide coverage for

intentional or expected injuries. For these reasons, Grange prays that the Court awards

it summary judgment.

                                Undisputed Facts
      Grange begins this factual background section by discussing the insurance policy

provisions that are relevant to this motion (Section A). It then discusses the facts and

allegations against Cycle Tex, Inc. in the Underlying Lawsuit (Section B).

A.    The Policy

      1.     The Grange Policy Excludes Coverage For Bodily Injury Arising
             Out Of Pollution
      Grange issued insurance policy no. CPP 2083060 03 01 to Cycle-Tex. [Exhibit

1]. The Grange Policy had an effective date of July 1, 2014 and was renewed through

July 1, 2019. [Id. pp. 278 (declarations for 2014-2015), 284 (2015-2016), 1091 (2016-

2017), 1317 (2017-2018), 1362 (2018-2019)]. The Grange Policy was a commercial pack-

age policy and contained the following relevant coverage part: Commercial General Li-

ability Coverage Part. [Id.]. In addition, the Policy contained a Commercial Liability

Umbrella Coverage Part for 2014 through 2017. [Id. pp. 2-8]

      The Commercial General Liability Coverage Part states, in pertinent part, that

Grange will “pay for those sums that the insured becomes legally obligated to pay as


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damages because of ‘bodily injury’ or ‘property damage’ to which this insurance applies.

. . . However, we will have no duty to defend the insured against any ‘suit’ seeking

damages for ‘bodily injury’ or ‘property damage’ to which this insurance does not ap-

ply.” [Ex. 1 p. 412]. The Commercial General Liability Coverage Part contains a Total

Pollution Exclusion Endorsement:




[Ex. 1, PDF page 557].

      Likewise, the Commercial Umbrella Liability Coverage Form states, in pertinent

part, that Grange “will have no duty to defend the insured against any ‘suit’ seeking

damages for ‘bodily injury’ or “property damage” to which this insurance does not

ap-ply.” [Ex. 1, PDF page 775]. The Commercial Liability Umbrella Coverage Part

also contains a Total Pollution Exclusion Endorsement, which expressly precludes

coverage for damages arising from pollution:

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[Ex. 1 at PDF page 852].

       The phrase, “Pollution cost or expense,” is defined, in pertinent part, by the Um-

brella Coverage Form as follows: “any loss, cost or expense arising out of any: a. Re-

quest, demand, order or statutory or regulatory requirement that any insured or others

test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any

way respond to, or assess the effects of “pollutants.” [Id. at PDF pg. 827].

       Both Total Pollution Exclusion endorsements plainly preclude coverage for dam-

ages to property or bodily injury caused by the “actual, alleged or threatened discharge,

dispersal, seepage, migration, release or escape of ‘pollutants’ at any time.” [Id. Policy

Ex. 1 at PDF pages 557 and 852 (emphasis added)]. Both endorsements also preclude

coverage for the payment of surcharges and heightened water rates the Underlying

Plaintiff claims a class of individuals must pay to recoup the additional wastewater

treatment costs nec-essary to remove the PFAS contamination allegedly caused by

Cycle Tex. [Id.]                            7
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       The term “pollutants” is defined by both the umbrella policy form and the un-

derlying form to mean “any solid, liquid, gaseous or thermal irritant or contaminant,

including smoke vapor soot fumes acids alkalis chemicals and waste. Waste includes

materials to be recycled reconditioned or reclaimed.” [Ex. 1 at PDF page 108

(underlying form), 827 (umbrella)]. That definition is construed broadly under Georgia

law. See Lang v. Fcci Ins. Co., 530 F.Supp.3d 1299 (N.D. Ga. 2021). Even were it not, a

classic dictionary definition of pollutant would encompass PFAS, which the

Underlying Plaintiffs label as “toxic” and “everlasting” and the cause of groundwater

contamination in Northwest Georgia. Webster’s II New College Dictionary (1995) (defining

pollutant, as follows: “something that pollutes, esp. a waste material that

contaminates air, soil or water.”

      2. The Grange Policy Requires Cycle Tex To Provide Timely Notice

      The Commercial General Liability Coverage Part of the Grange Policy required

Cycle Tex to provide it with timely notice of events that would likely lead to formal

claims as well as timely notice of formal lawsuits. In particular, the Commercial General

Liability Coverage Part of the Grange Policy contains the following provision:
        SECTION IV – COMMERCIAL GENERAL LIABILITY CON-
        DITIONS
      2.     Duties In The Event Of Occurrence, Offense, Claim, Or
             Suit

           a.    You must see to it that we are notified as soon as practicable
                 of an     “occurrence” or an offense which may result in a
                 claim. To the extent possible, notice should include:

                (1) How, when and where the “occurrence” or offense took
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                  place;

               (2) The names and addresses of any injured persons         and
                  witnesses; and

               (3) The nature and location of any injury or damage
                   arising out of the “occurrence” or offense.

[Ex. 1, PDF pg. 128].

      The Grange Policy contains the following Manufacturers’ Optimum

Endorse-ment IL 19, which also requires Cycle-Tex, Inc. to provide timely notice.

[Ex. 1, PDF page 59]. It provides, in pertinent part:

      XXIII. Duties in the Event of Occurrence, Offense, Claim or
      Suit-Redefined

            A.      The requirement in condition 2.a. of SECTION IV-
      COMMERICAL GENERAL LIABLITY CONDITIONS that you
      must see to it that we are notified of an “occurrence” only applies when
      the occurrence” or offense is known to:

             1. You, if you are an individual;

             2. A partner, if you are a partnership;

             3. An officer of the corporation; if you are a corporation

             4. Your members and managers, if you are a limited liability company;
                or

             5. Your insurance manager.
      The Grange Umbrella contains the following notice provision:




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[Ex. 1 at PDF pg. 880].
        3.      The Grange Policy Excludes Claims For Intentional Acts
        Both the body of the Grange Policy as well as the Manufacturers’ Optimum

Endorsement preclude coverage for expected or intended injuries. In particular, the

Commercial General Liability Coverage Form includes the following exclusion:

        SECTION I – COVERAGES
        COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
        LIABILITY
                            * * *

   1.        Exclusions

             This insurance does not apply to:

             a. Expected Or Intended Injury

                “Bodily injury” or “property damage” expected or intended from
                the standpoint of the insured. This exclusion does not apply to
                “bodily injury” resulting from the use of reasonable force to pro-
                tect persons or property.


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[Ex. 1 at PDF pgs. 120-21].

      The Grange Policy’s Manufacturers’ Optimum Endorsement similarly excludes

coverage, as follows:
      IX.    Expected Or Intended Injury
      Exclusion 2.a. under Section I – Coverage A – Bodily Injury And
            Property Damage Liability is replaced with the following:

      “Bodily injury” or “property damage” expected or intended from the
      standpoint of the insured. This exclusion does not apply to “bodily in-
      jury” and “property damage” resulting from the use of reasonable force
      to protect persons or property.
[Ex. 1 PDF pg. 464]
B.     The Underlying Lawsuit’s Allegations

      Jarrod Johnson, individually, and on behalf of a class of persons similarly situ-

ated to him, filed an Amended Complaint in the Underlying Lawsuit, which added Cy-

cle-Tex, Inc. as a named defendant. [Compl. Ex. B]. In December 2020, the Underlying

Plaintiff filed a Third Amended Complaint in which it alleged that Cycle-Tex “is the

owner and operator of a thermoplastics recycling facility . . . which has discharged in-

dustrial wastewater containing [polyfluoralkyl substances] into the [Dalton Utilities

Publicly Owned Treatment Works].” [Compl. Ex. D ¶¶ 25, 67 and Answer¶¶ 38, 40].

      Underscoring that Mr. Johnson claims PFAS are pollutants, the Third Amended

Complaint alleges that polyfluoralkyl substances “are a large group of man-made chem-

icals that do not occur naturally in the environment” and that there “is no known envi-

ronmental breakdown mechanism for [polyfluoralkyl substances], and they are readily


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absorbed into biota and tend to bioaccumulate with repeated exposure. [Polyfluoralkyl

substances] leach for soil to groundwater, are highly mobile and water soluble, making

groundwater and surface water particularly vulnerable to contamination, and a major

source of human exposure to [polyfluoralkyl substances] is through ingestion of con-

taminated drinking water.” [Compl. Ex. D ¶¶ 53-54, Answer ¶¶ 41-42].

      The Third Amended Complaint alleges that the Manufacturing Defendants—

including, Cycle-Tex,—were guilty of “intentional, willful, wanton, reckless, and negli-

gent discharge of [polyfluoralkyl substances] from Defendants’ manufacturing pro-

cesses and facilities into the [Dalton Utilities Publicly Owned Treatment Works].”

[Compl. Ex. D ¶¶ 2, 6; Answer ¶ 43].

       The Complaint further alleges that the Manufacturing Defendants—including,

Cycle-Tex—were guilty of polluting and contaminating the Consasauga River, the

Oostanaula River, the Coosa River and other tributaries and watersheds in the Upper

Coosa River basis. [Compl. Ex. D ¶¶ 4-6; Answer ¶ 44]. The Complaint further alleges

that the defendants—including, Cycle-Tex, Inc.—were guilty of “intentional, willful,

wanton, reckless, malicious and oppressive misconduct” in connection with that pollu-

tion. [Compl. Ex. D ¶ 6; Answer ¶ 45].

      The Complaint also alleges that Cycle-Tex, knew for a great deal of time before

the filing of the Underlying Lawsuit that it was intentionally polluting several waterways

with chemical pollutants. [Compl. Ex. D ¶¶ 67, 79; Answer ¶¶ 47-48]. More specifically,

the Underlying Plaintiff alleged that Manufacturing Defendants (such as Cycle Tex)

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discharged PFAS with knowledge of the toxicity and persistence of the chemicals and

that that the PFAS cannot be removed from their wastewater discharged into the Dalton

Utilities POTW. [Underlying September 2021 Order at 117 (citing Underlying Third

Amended Complaint ¶¶ 67, 79, 87-88)].

       In Jared Johnson’s interrogatory responses in this Declaratory Judgment Action,

he notes Cycle Tex discharged PFAS in at least August 2012 and June 2016, as recorded

in the analytical reports obtained from Dalton Utilities. He further contends that Dalton

Utilities was communicating the results of its PFAS testing to Cycle Tex at least during

the 2016 timeframe following the EPA’s release of lifetime health advisories for PFOA

and PFOS. [Jared Johnson’s Response 8 to Plaintiff ’s First Continuing Interrogatories

(Attached as Exhibit 2 to this brief)].

C.     The Underlying Plaintiff ’s Legal Claims And Damages.

       The Underlying Plaintiff is asserting five liability counts against Cycle Tex and

the other Manufacturing Defendants: A) Willful, Wanton, Reckless, or Negligent Mis-

conduct (Count 3); B) Negligence Per Se (Count 4); C) Punitive Damages and bad faith

attorney’s fees (Count 5) and D) Public Nuissance & Claims for Abatement and injunc-

tion of Public Nuisance (Counts 6 & 7). [Underlying September 2021 Order at 16; See

also Compl. Ex. D].

       Count 3 survived a motion to dismiss the negligence claims against the Manu-

facturing Defendants (inclusive of Cycle Tex), in part, based on the argument advanced

by the Underlying Plaintiff that “the extensive PFAS contamination would not have

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occurred had Defendants properly disposed of their PFAS and ensured it was not in

the wastewater they sent to the Dalton POTW.” [Underlying September 2021 Order at

117 (citing and quoting Underlying Plaintiff ’s Response In Opposition To Motion To

Dismiss at 11-12].

      Count 4 survived a motion to dismiss the negligence per se claim against the

Manufacturing Defendants based, in part, on the Underlying Plaintiff ’s allegation that

the Manufacturing Defendants “owed a duty to Plaintiff and Proposed Class Members

under Sections 301(a) and 307(d) of the CWA, 33 U.S.C. §§ 1311(a) and 1317(d), to not

discharge pollutants into waters of the United States without a valid permit and to op-

erate their facilities in such a manner as to ensure their industrial discharges into the

Dalton POTW did not cause Pass Through or Interference.” [Underlying September

2021 Order at 128 (quoting Compl. ¶ 158.)]

      In other words, the Underlying Plaintiff survived dispositive motions by advo-

cating that the Manufacturing Defendants (including Cycle Tex) breached a legal duty

by polluting waterways through the discharge of PFAS.

      Similarly, Count 6 and 7 survived a motion to dismiss the public nuisance claims

of the Underlying Plaintiff against the Manufacturing Defendants, in part, because

“Plaintiff alleges that the Manufacturing Defendants use PFAS at their facilities and,

for over a decade, have knowingly discharged a significant amount of wastewater con-

taining PFAS into the Dalton POTW that then contaminates the Conasauga,



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Oostanaula, and Coosa Rivers and the downriver water supply.” [Order at 138 (citing

and quoting Compl. ¶¶ 4, 67, 155.)]

       In short, the foundation of the Underlying Plaintiff ’s factual and legal claims

against Cycle Tex is that it caused damages by discharging chemicals that contaminated

Northwest Georgia’s drinking water. This is unquestionably a claim for pollution.

       Summarized, the Underlying Plaintiff allegedly suffered the following damages

due to Cycle Tex’s discharge of PFAS: 1) harm to their person by virtue of ingesting

contaminated water; 2) property damage “as a direct result of the contamination of the

Rome water supply” and; 3) the payment of surcharges and heightened water rates to

recoup the costs of removing the contamination. [Underlying September 2021 Order

at 13-14; See also Id. 71-72].

       In its responses to Plaintiff ’s Second Requests For Admissions, Jared Johnson

admits that his claims for compensatory damages are based on his allegation that Cycle

Tex discharged toxic chemicals. [Jarrod Johnson Response 20 to Plaintiff ’s First Re-

quests For Admissions (Exhibit 3 to this Brief)]. Mr. Johnson further admits that his

claims for statutory damages in the Underlying Lawsuit are based on his allegation that

Cycle Tex discharged toxic chemicals.” [RFA Response 21 (exhibit 3 to this Brief)]. Fi-

nally, Mr. Johnson admits that all causes of actions against Cycle-Tex are based on its

allegations that Cycle Tex discharged toxic chemicals.” [Id. 22].




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                                      Argument
      The burden of establishing coverage under the Policy rests with the Defendants.

“To establish a prima facie case . . . the insured must show the occurrence was within

the risk insured against.” Calabro v. Liberty Mut. Fire Ins. Co., 557 S.E.2d 427, 429 (Ga.

Ct. App. 2001) (citation omitted). Grange must only establish that an exclusion applies

if Defendants first carry their burden. Ga. Farm Bur. Mut. Ins. Co. v. Alloway, 215 S.E.2d

506, 508 (Ga. Ct. App. 1975).

      Whether a duty to defend exists turns on the language of the insurance

policy and the allegations of the complaint asserted against the insured. Canal Indem. Co.

v. Chastain, 491 S.E.2d 474, 475 (Ga. Ct. App. 1997). An insurer has no defense obliga-

tion where the complaint fails to allege claims or damages that potentially fall within

the policy’s scope of coverage. See Shafe v. Am. States Ins. Co., 653 S.E.2d 870, 873 (Ga.

Ct. App. 2007).

      Even if the duty to defend is triggered, an insurer still has no duty to indemnify

an insured where the insurance policy does not cover the losses claimed. See Reliance Ins.

Co. v. Povia-Ballantine Corp., 738 F. Supp. 523, 528 (S.D. Ga. 1990). Importantly, in the

absence of a defense obligation, however, there is no duty to indemnify. See Shafe v. Am.

States Ins. Co., 653 S.E.2d 870, 873 (Ga. Ct. App. 2007).

1.    The Total Pollution Exclusion Bars Coverage

      As noted, the Grange Policy contains a “Total Pollution Exclusion” which pre-

cludes coverage for “bodily injury” or “property damage “which would not have

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occurred in whole or part but for the actual alleged or threatened discharge, dispersal,

seepage, migration, release or escape of ‘pollutants’ at any time.” The exclusion also

precludes coverage for “any loss, cost or expense arising out of any: (a) Request, de-

mand, order or statutory or regulatory requirement that any insured or others test for,

monitor, clean up, remove, contain, treat, detoxify, or neutralize, or in any way respond

to, or assess the effects of “pollutants.” The term “pollutants” is defined by the Grange

Policy to mean “any solid, liquid, gaseous or thermal irritant or contaminant, including

smoke vapor soot fumes acids alkalis chemicals and waste. Waste includes materials

to be recycled reconditioned or reclaimed.”

       Here, the plain language of the Total Pollution Exclusion precludes coverage for

the Underlying Plaintiff ’s claims. The foundation of the Underlying Plaintiff ’s claims

against Cycle Tex is that it caused damages by discharging PFAS chemicals that con-

taminated Northwest Georgia’s drinking water by migrating from the Dalton POTW

into Northwest Georgia rivers.

       The Grange Policy defines chemicals to be pollutants. Even were that definition

not supplied, it is hard to imagine a definition of pollutant that would not include in-

dustrial wastewater containing PFAS; especially since Underlying Plaintiff refers to

PFAS as “toxic” and “everlasting” and his basic claim is that the discharge of PFAS in

industrial wastewater contaminated drinking water. See Webster’s II New College Dictionary

(1995) (defining pollutant, as follows: “something that pollutes, esp. a waste material

that contaminates air, soil, or water.”)

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       The Underlying Plaintiffs even admit that the discharge of PFAS by the Manu-

facturing Defendants is pollution. In his Third Amended Complaint, the Underlying

Plaintiff allege that manufacturing defendants such as Cycle Tex “owed a duty to Plain-

tiff and Proposed Class Members under Sections 301(a) and 307(d) of the CWA, 33

U.S.C. §§ 1311(a) and 1317(d), to not discharge pollutants into waters of the United

States without a valid permit and to operate their facilities in such a manner as to ensure

their industrial discharges into the Dalton POTW did not cause Pass Through or Inter-

ference.” [Compl. Ex. D ¶ 158 (emphasis added)]. More generally, the word “pollutant”

appears over a dozen times in the Third Amended Complaint. [Compl. Ex. D].

       Further, Georgia law routinely finds that insurance policies’ pollution exclusion,

with language nearly identical to the Grange Policy, may broaden the definition of pol-

lution beyond traditional environmental pollution. See Lang v. Fcci Ins. Co., 530 F. Supp.

3d 1299, 1308 (N.D. Ga. 2021) (collecting cases including Reed, 284 Ga. 286 (2008)

(carbon monoxide); Georgia Farm Bureau Mut. Ins. Co. v. Smith, 298 Ga. 716 (2016) (lead

paint); Truitt Oil & Gas Co., Inc. v. Ranger Ins. Co., 231 Ga. App. 89 (gasoline); Recyc Sys.

Se., LLC v. Farmland Mut. Ins. Co., 4:17-cv-225 (CDL), 2018 U.S. Dist. LEXIS 82248

(M.D. Ga. May 16, 2018) (noxious odors); Essex Ins. Co. v. H & H Land Dev. Corp., 525

F. Supp. 2d 1344, 1353 (M.D. Ga. 2007) (storm water runoff and resulting sediment);

Evanston Insurance Company v. Sandersville Railroad Company, 761 F. App'x 940, 942 (11th

Cir. 2019) (welding fumes)).



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      Given this broad definition and the basic pollutant nature of PFAS, the Under-

lying Plaintiff ’s claim for Cycle Text to pay damages for class members payment of

surcharges and heightened water rates to recoup the costs of removing the PFAS con-

tamination from drinking water is also precluded. Grange and Cycle Tex agreed that

claims for bodily injury and property damage arising from pollution would not be cov-

ered. They also agreed claims for costs to cleanup/treat/detoxify or otherwise respond

to the effects of pollutants would not be covered. The Underlying Plaintiff are making

the exact claims for pollution damages against Cycle Tex that the Grange Policy ex-

cludes. Grange is entitled to summary judgment on that basis.

2.    Cycle Tex’s Late Notice Bars Coverage

      Georgia courts enforce notice provisions in liability insurance policies as a con-

dition precedent to coverage. Federated Mut. Ins. Co. v. Ownbey Enterprises, Inc., 278 Ga.

App. 1, 4 (2006). Here, the record demonstrates Cycle Tex violated the Grange Policy’s

notice provision, which was a condition precedent to coverage. As a condition prece-

dent to coverage, the Policy required Cycle Tex to “see to it that” the Grange be “noti-

fied as soon as practicable of an “occurrence” or an offense which may result in a

claim.” [Ex. 1; State Farm Fire & Cas. Co. v. LeBlanc, 494 F. App'x 17, 21 (11th Cir. 2012)

(holding, under Georgia law, a notice provision is a condition precedent to coverage

when the provision contains the mandatory language “you must see to it.”); see also For-

shee,, 309 Ga. App. 621 (2011).



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       That an insured has not actually received a claim or been sued is immaterial to

when the duty to notify is triggered. See Canadyne-Ga. Corp. v. Cont’l Ins. Co., 999 F.2d

1547 (11th Cir. 1993) (rejecting insured’s contention it was only required to provide no-

tice after definitely learning that a potential claimant had sustained property damage or

after having received a claim). Once triggered, Cycle Tex was required to provide notice

as soon as reasonably possible. Lankford v. State Farm Mut. Auto. Ins. Co., 307 Ga. App.

12, 14-15, (2010). Indeed, the timeliness requirement is the basic purpose why insurance

companies are entitled to notice: “to enable the insurer to inform itself promptly con-

cerning the accident, so that it may investigate the circumstances, prepare for a defense,

if necessary or be advised whether it is prudent to settle any claim arising therefrom.”

Kitt v. Shield Ins. Co., 240 Ga. 619, 621 (1978).

       Cycle Tex is in default in the Declaratory Judgment Action. Perhaps the late-

notice defense is better handled through a default judgment. Nonetheless, for the pur-

poses of this summary judgment motion, Grange has submitted evidence that it was

first notified of Cycle Tex’s pollution in October of 2020. In Jared Johnson’s interrog-

atory responses in this Declaratory Judgment Action, he notes that that Cycle Tex dis-

charged PFAS in at least August 2012 and June 2016, as recorded in the analytical re-

ports obtained from Dalton Utilities. He further contends that Dalton Utilities was

communicating the results of its PFAS testing to Cycle Tex at least during the 2016

timeframe following the EPA’s release of lifetime health advisories for PFOA and

PFOS. [Response 8 to Plaintiff ’s First Continuing Interrogatories].

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       In Georgia, courts have held that a delay of as little as three months is unreason-

able as a matter of law. See Diggs v. S. Ins. Co., 172 Ga. App. 37 (1984); See also Canadyne-

Ga. Corp., 999 F.2d 1547 (noting agreement with the holding in Diggs); see also Bitumini-

ous Cas. Corp. v. J.B. Forrest & Sons, Inc., 132 Ga. App. 714, 209 S.E.2d 6 (1074) (four-

month delay unreasonable as a matter of law); Hathaway Development Co., Inc. v. Illinois

Union Ins. Co., 274 Fed.Appx. 787 (2008) (delays of four, five, and eight months unrea-

sonable). Here, it is undisputed that Grange was first notified of the polluting events in

October of 2020—over four years Jared Johnson alleges Cycle Tex was notified about

the PFAS discharges.

       As a result, the burden shifts to Cycle Tex to show “sufficient legal excuse” for

failing to comply with the notice provision. See DeBord v. Peoples Benefit Life Ins. Co., 565

F. Supp.2d 1350, 1354 (N.D.G. Ga. 2008). Cycle Tex is in default and no evidence exists

in the record showing it has a justifiable excuse for providing late notice. Grange is

entitled to summary judgment on this independent basis.

3.     The Grange Policy Excludes Claims For Intentional Acts
       Both the body of the Grange Policy as well as the Manufacturers’ Optimum

Endorsement preclude coverage for expected or intended injuries. As noted Cycle Tex

is in default. For its part, the Underlying Plaintiff admits that it is seeking to recover

damages, in part, based on Cycle Tex’s “intentional, willful, wanton, reckless, malicious

or oppressive conduct.” [Jarrod Johnson’s Response 8 to Plaintiff ’s First Requests For

Admissions]. In essence, part of the Underlying Plaintiff ’s claim is that Cycle Tex

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intentionally polluted. Damages for such claims are excluded by the Grange Policy. See

Canal Indem. Co v. Bradley, 2014 U.S. Dist LEXIS 41691 at 21 (N.D. Ga. 2014) (noting

intentional tort claim was barred by the Policy Expected Or Intended Injury Exclusion).

                                     Conclusion
      The Underlying Lawsuit is a claim for bodily injury damages, property damages,

and clean up/treatment costs caused by pollution that occurred over the last decade.

Injuries from pollution are plainly excluded under the unambiguous terms of the

Grange Policy. Grange is entitled to summary judgment.



      This 21st day of June, 2022.
                                         HAWKINS PARNELL & YOUNG, LLP


                                         /s/ Evelyn Fletcher Davis
 303 Peachtree Street, N.E.              Evelyn Fletcher Davis
 Suite 4000                              Georgia Bar No. 801498
 Atlanta, Georgia 30308
 Telephone: (404) 614-7400               Attorneys for Plaintiff Grange Mutual Casualty
 Facsimile: (8550 889-4588               Company
 edavis@hpylaw.com




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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEOR-
                        GIA ROME DIVISION

GRANGE INSURANCE COMPANY,                   )
                                            )
      Plaintiff,                            )     CIVIL ACTION FILE
                                            )
v.                                          )     NO. 4:21-cv-00147-AT
                                            )
CYCLE-TEX, INC. et al.                      )
                                            )
      Defendants.                           )




                    RULE 5.4 CERTIFICATE OF SERVICE

      Pursuant to Local Rule 5.4, the undersigned hereby certifies that on the

21st day of June, she served GRANGE INSURANCE COMPANY’S BRIEF

IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT on lead

counsel of record for Defendant Jarrod Johnson, via email, as follows:

              Ryan Lutz
              rlutz@corywatson.com
              Cory Watson, P.C.
              2131 Magnolia Avenue South
              Birmingham, AL 35205

     I also certify that this brief was prepared using Garamond font, 14 pt.

      Dated this 21st day of June, 2022.

                             [Signature Page Follows]




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                                  HAWKINS PARNELL & YOUNG, LLP


                                  /s/ Evelyn Fletcher Davis
303 Peachtree Street, N.E.        Evelyn Fletcher Davis
Suite 4000                        Georgia Bar No. 801498
Atlanta, Georgia 30308
Telephone: (404) 614-7400         Attorneys for Plaintiff Grange Mutual Casualty
Facsimile: (8550 889-4588         Company
edavis@hpylaw.com




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                          EXHIBIT 1 (filed as a separate volume)




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                          EXHIBIT 2




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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 GRANGE INSURANCE COMPANY,

        Plaintiff,

 v.                                         Civil Action

 CYCLE-TEX,INC., and                        File No. 4:21-CV-00147-AT
 JARROD JOHNSON, individually,
 And on behalf of a class of persons,
 similarly situated.


     DEFENDANT JARROD JOHNSON’S RESPONSES TO PLAINTIFF’S
     FIRST CONTINUING INTERROGATORIES TO JARROD JOHNSON

       Pursuant to Fed. R. Civ. P. 33, Plaintiff provides these responses and

objections to Plaintiff Grange Insurance Company’s First Continuing Interrogatories

to Jarrod Johnson. Johnson’s responses are based upon his current information and

as a result of reasonable searches and inquiries. As discovery is ongoing, Johnson

reserves the right to amend and supplement his responses and production.

1.     Please state the name, address, telephone number, employer, and title of
       each person answering or assisting in the answering of these
       Interrogatories.
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         RESPONSE: Jarrod Johnson, who may be contacted through his undersigned

counsel, is answering these Interrogatories with the assistance of undersigned

counsel.

2.       Please state when and how Cycle Tex, Inc. first provided notice of the
         Underlying Lawsuit to Plaintiff.

         RESPONSE: Plaintiff objects to this Interrogatory as seeking information

that cannot reasonably be expected to be within Johnson’s knowledge, custody, or

control. Subject to said objection, beyond Plaintiff’s allegation that it first received

notice of the Underlying Lawsuit on October 19, 2020 in its complaint for

declaratory judgment, Johnson has no knowledge as to when Cycle Tex in fact

provided notice of the Underlying Lawsuit to Plaintiff.

3.       Please provide a brief statement detailing the material facts which
         underpin your response to interrogatory two.

         RESPONSE: Please see Johnson’s objection and response to Interrogatory

No. 2.

4.       Please state when and how Cycle Tex, Inc. first provided notice of the
         facts giving rise to the Underlying Lawsuit to Plaintiff.

         RESPONSE: Please see Johnson’s objection and response to Interrogatory

No. 2.

5.       Please detail the material facts upon underpinning your response to
         interrogatory four.
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         RESPONSE: Please see Johnson’s objection and response to Interrogatory

No. 2.

6.       Do you contend that Cycle-Tex, Inc. intentionally, willfully, wantonly, or
         recklessly released toxic chemicals into the Dalton Utilities Publicly
         Owned Treatment Works (“POTW”)?

         RESPONSE: In addition to pleading that Cycle Tex, Inc. negligently released

toxic chemicals into the Dalton Utilities POTW, yes, Johnson pleads in the

alternative that it did so intentionally, willfully, wantonly, or recklessly.

7.       Are you seeking to recover damages, in any form, in the Underlying
         Lawsuit from Cycle Tex, Inc. due to its release of toxic chemicals into the
         Dalton POTW?

         RESPONSE: Yes.

8.       Please detail, how, when and from whom you contend that Cycle Tex,
         Inc. learned that it discharged toxic per- and polyfluoroalkyl substances
         (“PFAS”) into the Dalton POTW.

         RESPONSE: Johnson contends that Cycle Tex discharged PFAS, including

the PFAS constituents PFDA, PFHxS, PFHxA, PFOS, PFOA, PFPA, PFBS, and

PFUnA, to the Dalton Utilities POTW in at least August 2012 and June 2016, as

recorded in the analytical reports obtained from Dalton Utilities. Johnson contends

that Dalton Utilities was communicating the results of its PFAS testing to Cycle

Tex at least during the 2016 timeframe following the EPA’s release of lifetime

health advisories for PFOA and PFOS.
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9.    Are you seeking to recover damages, in any form, in the Underlying
      Lawsuit from Cycle Tex, Inc. due to its release of per-and
      polyfluoroalkyl substances (“PFAS”) into the Dalton POTW?

      RESPONSE: Yes.

10.   Identify all persons known to you, other than expert witnesses, who are
      likely to have discoverable information relating to the facts, claims, or
      defenses alleged in this lawsuit (not the Underlying Lawsuit), and state
      the substance of the discoverable information known to each such person.

      RESPONSE: Johnson incorporates by reference Attachment A to his Initial

Disclosures in this action. In addition, Johnson identifies those identified by Cycle

Tex in its Initial Disclosures in the Underlying Lawsuit, provided verbatim below:

      Jarrod Johnson: As the named Plaintiff, Mr. Johnson has knowledge
      relating to the claims asserted by him, and others purportedly similarly
      situated, in this case. Mr. Johnson can be contacted through his counsel.

      Phillip Neff, Former Chief Executive Officer and Founder of Cycle-
      Tex: Mr. Neff founded Cycle-Tex in 1989 and ran the company until it
      closed in 2019. He has knowledge relating to Cycle-Tex’s business
      operations and its manufacturing processes. Mr. Neff can be contacted
      through counsel for Cycle-Tex.

      Jerry Dolan, Former Chief Financial Officer: Mr. Dolan has knowledge
      relating to Cycle-Tex’s business operations and its manufacturing
      processes. Mr. Dolan can be contacted through counsel for Cycle-Tex.

      Cycle-Tex incorporates by reference the names of individuals disclosed
      in Co-Defendants’ and Plaintiff’s witness lists.

11.   Identify all persons or entities with whom you contend Cycle Tex, Inc.
      has communicated with about the Underlying Lawsuit before it was
      named as a party to the Underlying Lawsuit.
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      RESPONSE: Johnson objects to this Interrogatory as it incorrectly assumes

Johnson has specific or particular contentions regarding “persons or entities with

whom . . . Cycle Tex, Inc. has communicated with about the Underlying Lawsuit

before it was named as a party to the Underlying Lawsuit.” Johnson further objects

on grounds that this Interrogatory seeks information outside of Johnson’s

knowledge, custody, or control. Subject to said objections, Johnson’s counsel in the

Underlying Lawsuit sent Cycle Tex a Notice of Intent to File Citizen Suit Pursuant

to the Federal Clean Water Act on June 25, 2020. Johnson is not currently aware of

additional persons or entities with whom Cycle Tex communicated regarding the

Underlying Lawsuit.

12.   Please state all facts supporting your contention that Cycle Tex, Inc. is
      entitled to coverage under the Policy for the Underlying Lawsuit.

      RESPONSE: Johnson has no contention regarding Cycle Tex’s entitlement

to coverage under the referenced policy.

13.   Identify each person whom you expect to call as an expert witness at
      trial and state, with particularity, the subject matter in which the expert
      is expected to testify, the substance of the facts and opinions to which
      the expert is expected to testify and a summary of the grounds for each
      such opinion. For each such expert, please identify:

      a.    The opinion that the expert will offer at the hearing;

      b.    Any and all correspondence, documents, statements, reports,
            notes, drawings, diagrams, calculations, or other tangible things
            prepared by or for the expert;
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      c.     The facts that form the basis for the expert's opinion;

      d.     Any documentary evidence that the expert intends to use in
             conjunction with his or her opinion;

      e.     Any prior matters in which the expert has provided expert
             testimony;

      f.     The expert's current resume, bio, or curriculum vitae; and

      g.     Any books, treatises, journals, articles or other writings that the
             expert has previously published.

      RESPONSE: At this time, Johnson has not identified any persons he may

call as an expert witness at the trial of this case. To the extent he does, Johnson will

make required disclosures in accordance with the Federal Rules of Civil Procedure

and the Court’s orders.

14.   Please identify each document, which supports or otherwise relates to
      your responses to any of these Interrogatories or to any of your
      defenses, stating about each document the contention which it supports
      or otherwise relates to.

      RESPONSE: Johnson objects to this Interrogatory as overly broad, unduly

burdensome, vague, and as compounding two separate interrogatories in violation

of Fed. R. Civ. P. 33(a)(1), as it requests identification of each document that

supports or in any way relates to any interrogatory response or defense. Subject to

said objections, Johnson identifies all pleadings he filed in the Underlying Lawsuit;

documents referenced in response to Plaintiff’s Interrogatories; and documents

produced in response to Plaintiff’s Requests for Production of Documents.
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15.   For each of Plaintiff’s Request for Admissions that Defendant fails to
      admit, please provide complete factual and legal support for your
      failure to admit the Request fully.

      RESPONSE: Johnson objects to this Interrogatory as overly broad, unduly

burdensome, and compound in violation of Fed. R. Civ. P. 33(a)(1), which

provides that “a party may serve on any other party no more than 25 written

interrogatories, including all discrete subparts.” Because this Interrogatory requests

a separate response for each of 16 Requests for Admission that Johnson “fails to

admit,” its subparts exceed the number of interrogatories permitted by Rule

33(a)(1). See, e.g., Colony Ins. Co. v. All Cities Enter., Inc., 2019 WL 5850548, at

*2 (M.D. Ga. June 11, 2019) (holding interrogatory requesting basis for each

failure to admit a request for admission constituted separate interrogatories for

purposes of Rule 33(a)(1)); Commodores Entertainment Corp. v. McClary, 2015

WL 12843874, at *3 (M.D. Fla. Nov. 6, 2015) (same); Carper v. Twc Svss. Inc.,

2011 WL 13096631, at *4 (S.D. Fla. June 10, 2011) (same). Therefore, Johnson’s

response is limited to the remaining number of interrogatories permitted by Rule

33(a)(1):

      Request No. 1 – Johnson’s pleadings in the Underlying Lawsuit allege that

Cycle Tex and other Defendants that are industrial users with Dalton Utilities

have—in the alternative—intentionally, willfully, wantonly, recklessly, or
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negligently discharged industrial wastewater into the Dalton Utilities POTW,

which is applied to the Riverbend LAS by Dalton Utilities, and then passes through

the LAS to the Conasauga River and downstream, connected waters, including the

intake for City of Rome drinking water on the Oostanaula River. See, e.g., Johnson

v. 3M Company, et al., Fourth Amended Complaint, ¶¶ 2, 67, 167-171. Johnson

further alleges that Cycle Tex and other Defendants—in the alternative—knew or

should have known of the toxic, persistent, and bioaccumulative nature of PFAS

and that their discharges of industrial wastewater to the Dalton Utilities POTW

would result in contamination of surface waters, including the Conasauga and

Oostanaula Rivers and connected domestic water supplies, endangering consumers

of these water supplies, the public, and the environment. See id. at ¶¶ 79-81, 170.

      As explained in Johnson’s objection to Request No. 1, Johnson interprets the

phrase “polluted waterways with toxic chemicals” to mean the discharge of

pollutants directly into the rivers and tributaries at issue in the Underlying Lawsuit,

but not industrial wastewater streams through which Cycle Tex discharges

industrial wastewater to Dalton Utilities. Because Johnson does not allege that

Cycle Tex discharged or discharges toxic chemicals directly into the rivers and

tributaries at issue in Johnson, but instead that it discharges and discharged

industrial wastewater containing PFAS into the Dalton Utilities POTW, Johnson
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denies this Request. Likewise, because Johnson does not allege that Cycle Tex

acted only intentionally, but also alleges in the alternative that Cycle Tex acted

willfully, wantonly, recklessly, or negligently, Johnson also denies this Request.

      Request No. 2 – Johnson denies the portion of Request No. 2 asking him to

admit seeking damages against Cycle Tex based on his claim that Cycle Tex

“knowingly and intentionally discharged [PFOA and PFOS and related chemicals]

into the rivers and watersheds that supply drinking water to the City of Rome and

its water subscribers.” Because Johnson does not allege that Cycle Tex discharged

or discharges PFOA and PFOS and related chemicals directly into the rivers and

watersheds that supply drinking water to the City of Rome and its water

subscribers, but instead that it discharges and discharged industrial wastewater

containing PFAS into the Dalton Utilities POTW, Johnson denies this portion of

Request No. 2. And because Johnson does not allege that Cycle Tex acted only

knowingly and intentionally, but also alleges in the alternative that Cycle Tex acted

willfully, wantonly, recklessly, or negligently, Johnson denies this portion of

Request No. 2.

      Request No. 3 – Johnson denies the portion of Request No. 3 asking him to

admit seeking damages against Cycle Tex based on his claim that Cycle Tex

“knowingly and intentionally discharged [PFOA and PFOS and related chemicals]
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into the rivers and watersheds that supply drinking water to the City of Rome.”

Because Johnson does not allege that Cycle Tex discharged or discharges PFOA

and PFOS and related chemicals directly into the rivers and watersheds that supply

drinking water to the City of Rome, but instead that it discharges and discharged

industrial wastewater containing PFAS into the Dalton Utilities POTW, Johnson

denies this portion of Request No. 3. And because Johnson does not allege that

Cycle Tex acted only knowingly and intentionally, but also alleges in the

alternative that Cycle Tex acted willfully, wantonly, recklessly, or negligently,

Johnson further denies this portion of Request No. 3.

      Request No. 4 – Request No. 4 asks Johnson to admit that Cycle Tex in fact

discharged PFOA, PFOS, and related chemicals into the rivers and watersheds that

supply drinking water to the City of Rome. Johnson does not allege or contend that

Cycle Tex discharged these or other chemicals directly into such rivers and

watersheds, and Johnson lacks information or knowledge to admit or deny such

facts. Johnson instead alleges that Cycle Tex discharges and discharged industrial

wastewater containing PFAS into the Dalton Utilities POTW.

      Request No. 5 – As explained in response to Request No. 5, Johnson does

not possess any information or knowledge with which to admit or deny that Cycle
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Tex sent written correspondence to Plaintiff concerning the Underlying Lawsuit

during the referenced time period.

      Request No. 6 – As explained in response to Request No. 6, Johnson does

not possess any information or knowledge with which to admit or deny that Cycle

Tex sent written correspondence to Plaintiff concerning the Underlying Lawsuit

during the referenced time period.

      Request No. 7 – As explained in response to Request No. 7, Johnson does

not possess any information or knowledge with which to admit or deny that Cycle

Tex sent written correspondence to Plaintiff concerning the Underlying Lawsuit

during the referenced time period.

      Request No. 8 – As explained in response to Request No. 8, Johnson does

not possess any information or knowledge with which to admit or deny that Cycle

Tex sent written correspondence to Plaintiff concerning the Underlying Lawsuit

during the referenced time period.

      Request No. 13 – Request No. 13 requests that Johnson “admit that PFAS

are not a toxic substance [sic].” Because the toxicity of PFAS have been studied

and evaluated over the course of many years and by many sources, Johnson objects

to providing “complete factual and legal support” for his denial of this Request on

grounds that providing all documentation of PFAS toxicity is overly broad, unduly
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burdensome, and disproportionate to the needs of this case. Subject to said

objections, Johnson refers Plaintiff to the Toxicological Profile for Perfluoroalkyls

published by the Department of Health and Human Services, Agency for Toxic

Substances and Disease Registry (May 2021) and EPA’s 2016 Drinking Water

Health Advisories for PFOS and PFOA, which Johnson is producing in this

lawsuit.

      Request No. 14 – Request No. 14 asks Johnson to admit that Cycle Tex in

fact discharged PFAS into the rivers and watersheds that supply drinking water to

the City of Rome. Johnson does not allege or contend that Cycle Tex discharged

PFAS directly into such rivers and watersheds, and Johnson lacks information or

knowledge to admit or deny such facts. Johnson instead alleges that Cycle Tex

discharges and discharged industrial wastewater containing PFAS into the Dalton

Utilities POTW.

This the 29th day of April, 2022

                                              As to objections,

                                              /s Brett C. Thompson
                                              Brett C. Thompson, Esq. (phv)
                                              Hirlye R. “Ryan” Lutz, III, Esq. (phv)
                                              F. Jerome Tapley, Esq. (phv)
                                              CORY WATSON, P.C.
                                              2131 Magnolia Avenue South
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                             Attorneys for Defendant Jarrod Johnson
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14-point font, as mandated in Local Rule 5.1.C.


This 29th day of April, 2022.


                                            /s/ Brett C. Thompson
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                         CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing has been filed electronically with the

Clerk of Court by using the CM/ECF system which will automatically email all

counsel of record.


This 29th day of April, 2022.



                                           /s/ Brett C. Thompson
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                          EXHIBIT 3




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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 GRANGE INSURANCE COMPANY,

        Plaintiff,

 v.                                          Civil Action

 CYCLE-TEX, INC., and                 File No. 4:21-CV-00147-AT
 JARROD JOHNSON, individually,
 And on behalf of a class of persons,
 similarly situated.


      DEFENDANT JARROD JOHNSON’S RESPONSES TO PLAINTIFF’S
        FIRST REQUESTS FOR ADMISSIONS TO JARROD JOHNSON

        Pursuant to Fed. R. Civ. P. 36, Defendant Jarrod Johnson provides these

responses and objections to Plaintiff Grange Insurance Company’s First Request for

Admissions to Jarrod Johnson. Plaintiff’s responses are based upon his current

information and as a result of reasonable searches and inquiries. As discovery is

ongoing, Plaintiff reserves the right to amend and supplement his responses.

1.      Please admit that you are seeking damages in the Underlying Lawsuit
        based on your claim that Cycle Tex, Inc. intentionally polluted waterways
        with toxic chemicals.

        RESPONSE: Johnson objects to this Request because the phrase “polluted

waterways with toxic chemicals” is vague and ambiguous. Johnson interprets this

                                         1
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phrase to mean the discharge of pollutants into the Conasauga, Oostanaula, Coosa,

and Etowah Rivers and/or related tributaries at issue in his pleadings in the

Underlying Lawsuit and not to include waste streams by which Johnson alleges

Cycle Tex and other Defendants discharged industrial wastewater to the Dalton

Utilities POTW. Subject to this interpretation, denied as phrased by Plaintiff.

2.    Please admit that you are seeking damages in the Underlying Lawsuit
      based on your claim that Cycle Tex, Inc. has long been aware of the
      toxicity of PFOA and PFOS and related chemicals, but that it allegedly
      knowingly and intentionally discharged those chemicals into the rivers
      and watersheds that supply drinking water to the City of Rome and its
      water subscribers.

      RESPONSE: Johnson admits that he is seeking damages based, in part, on

his allegation that Cycle Tex and other Defendants knew or should have known of

the toxicity of PFAS, including PFOA and PFOS. Johnson denies the remainder of

this Request as phrased by Plaintiff.

3.    Please admit that you are seeking damages in the Underlying Lawsuit on
      the basis that Cycle Tex. Inc. was aware of the toxicity of PFOA and
      PFOS and related chemicals, but that it knowingly and intentionally
      discharged those chemicals into the into the rivers and watersheds that
      supply drinking water to the City of Rome.

      RESPONSE: Johnson admits that he is seeking damages based, in part, on

his allegation that Cycle Tex and other Defendants knew or should have known of




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the toxicity of PFAS, including PFOA and PFOS. Johnson denies the remainder of

the Request as phrased by Plaintiff.

4.    Please admit that more than six months before November 26, 2019, Cycle
      Tex. Inc. was aware of the toxicity of PFOA and PFOS and related
      chemicals, and that it was also aware that it was discharging those
      chemicals into the into the rivers and watersheds that supply drinking
      water to the City of Rome.

      RESPONSE: Johnson admits his allegation that Cycle Tex knew or should

have known of the toxicity of PFAS, including PFOA and PFOS, and Johnson

admits that he contends Cycle Tex knew or should have known this information

more than six months before November 26, 2019. Following reasonable inquiry,

Johnson lacks sufficient knowledge to admit or deny that Cycle Tex was discharging

PFAS directly into the rivers and watersheds that supply drinking water to the City

of Rome.

5.    Please admit that Cycle Tex, Inc. never sent any written
      correspondence— including but not limited to a letter, a facsimile, or an
      e-mail—to the Plaintiff about the Underlying Lawsuit or any facts giving
      rise to the Underlying Lawsuit in the six months prior to November 26,
      2019.

      RESPONSE: Johnson objects to this Request as seeking admission or denial

of facts or information not in Johnson’s knowledge, custody, or control. Subject to

said objections, and following a reasonable inquiry, Johnson lacks sufficient

knowledge to admit or deny this Request.


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6.    Please admit that Cycle Tex, Inc. never sent any written
      correspondence— including but not limited to a letter, a facsimile, or an
      e-mail—to the Plaintiff about the Underlying Lawsuit or any facts giving
      rise to the Underlying Lawsuit in the twelve months prior to November
      26, 2019.

      RESPONSE: Johnson objects to this Request as seeking admission or denial

of facts or information not in Johnson’s knowledge, custody, or control. Subject to

said objections, and following a reasonable inquiry, Johnson lacks sufficient

knowledge to admit or deny this Request.

7.    Please admit that Cycle Tex, Inc. never informed the Plaintiff about the
      Underlying Lawsuit or the facts giving rise to the Underlying Lawsuit in
      the twelve months prior to August 27, 2020.

      RESPONSE: Johnson objects to this Request as seeking admission or denial

of facts or information not in Johnson’s knowledge, custody, or control. Subject to

said objections, and following a reasonable inquiry, Johnson lacks sufficient

knowledge to admit or deny this Request.

8.    Please admit that Grange first received notice of the incidents
      underpinning the factual claims being asserted against Cycle-Tex in the
      Underlying Lawsuit on October 19, 2020.

      RESPONSE: Johnson objects to this Request as seeking admission or denial

of facts or information not in Johnson’s knowledge, custody, or control. Subject to

said objections, and following a reasonable inquiry, Johnson lacks sufficient

knowledge to admit or deny this Request.


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9.    Please admit that you are seeking to recover damages from Cycle Tex,
      Inc. arising out of its intentional, willful, wanton, reckless, and negligent
      discharge of polyfluoroalkyl substances from its manufacturing
      processes and facilities and into the Dalton Utilities Publicly Owned
      Treatment Works.

      RESPONSE: Johnson admits that he is seeking to recover damages from

Cycle Tex, based, in part, on its alleged intentional, willful, wanton, reckless, or

negligent discharge of per- and/or polyfluoroalkyl substances to the Dalton Utilities

POTW.

10.   Please admit that you are seeking to recover damages from Cycle Tex,
      Inc. in the Underlying Lawsuit for its intentional, willful, wanton,
      reckless, malicious and oppressive misconduct.

      RESPONSE: Johnson admits that he is seeking to recover damages from

Cycle Tex in the Underlying Lawsuit, in part, for its intentional, willful, wanton,

reckless, or negligent conduct and seeks punitive damages for any conduct that was

willful, malicious, fraudulent, wanton, oppressive, and/or with conscious

indifference to the consequences.

11.   Please admit that you are seeking to recover damages from Cycle Tex,
      Inc. in the Underlying Lawsuit because it allegedly acted in bad faith and
      with conscious indifference.

      RESPONSE: Admitted as alleged in the Underlying Lawsuit.

12.   Please admit that PFAS are a toxic substance.

      RESPONSE: Admitted.

13.   Please admit that PFAS are not a toxic substance.
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      RESPONSE: Plaintiff denies that PFAS are not toxic substances.

14.   Please admit that Cycle Tex, Inc. discharged PFAS into the rivers and
      watersheds that supply drinking water to the City of Rome and its water
      subscribers.

      RESPONSE: Johnson alleges that Cycle Tex discharged industrial

wastewater containing PFAS into the Dalton Utilities POTW. Following a

reasonable inquiry, Johnson lacks sufficient information to admit or deny that Cycle

Tex discharged PFAS directly into the rivers and watersheds that supply drinking

water into the City of Rome and its water subscribers.

15.   Please admit that Cycle Tex, Inc. did not discharge PFAS into the rivers
      and watersheds that supply drinking water to the City of Rome and its
      water subscribers.

      RESPONSE: Johnson alleges that Cycle Tex discharged industrial

wastewater containing PFAS into the Dalton Utilities POTW. Following a

reasonable inquiry, Johnson lacks sufficient information to admit or deny that Cycle

Tex discharged PFAS directly into the rivers and watersheds that supply drinking

water into the City of Rome and its water subscribers.

16.   Please admit that Cycle Tex, Inc. intentionally discharged PFAS into the
      rivers and watersheds that supply drinking water to the City of Rome
      and its water subscribers.

      RESPONSE: Johnson alleges that Cycle Tex intentionally, willfully,

wantonly, recklessly, or negligently discharged industrial wastewater containing


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PFAS into the Dalton Utilities POTW. Following a reasonable inquiry, Johnson

lacks sufficient information to admit or deny that Cycle Tex discharged PFAS

directly into the rivers and watersheds that supply drinking water into the City of

Rome and its water subscribers, intentionally or otherwise.

17.   Please admit that Cycle Tex, Inc. did not intentionally discharge PFAS
      into the rivers and watersheds that supply drinking water to the City of
      Rome and its water subscribers.

      RESPONSE: Johnson alleges that Cycle Tex intentionally, willfully,

wantonly, recklessly, or negligently discharged industrial wastewater containing

PFAS into the Dalton Utilities POTW. Following a reasonable inquiry, Johnson

lacks sufficient information to admit or deny that Cycle Tex discharged PFAS

directly into the rivers and watersheds that supply drinking water into the City of

Rome and its water subscribers, intentionally or otherwise.

18.   Please admit that you are seeking damages in the Underlying Lawsuit
      based on Cycle Tex, Inc.’s discharge of PFAS into the rivers and
      watersheds that supply drinking water to the City of Rome and its water
      subscribers.

      RESPONSE: Denied as phrased by Plaintiff.

19.   Please admit that you are not seeking damages in the Underlying Lawsuit
      based on Cycle Tex, Inc.’s discharge of PFAS into the rivers and
      watersheds that supply drinking water to the City of Rome and its water
      subscribers.

      RESPONSE: Johnson admits he is not seeking damages in the Underlying


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Lawsuit based on Cycle Tex’s discharge of PFAS directly into the rivers and

watersheds that supply drinking water to the City of Rome and its water subscribers.

20.   Please admit that you are seeking damages in the Underlying Lawsuit
      based on Cycle Tex, Inc.’s discharge of toxic chemical(s) into the rivers
      and watersheds that supply drinking water to the City of Rome and its
      water subscribers.

      RESPONSE: Denied as phrased by Plaintiff.

21.   Please admit that you are not seeking damages in the Underlying Lawsuit
      based on Cycle Tex, Inc.’s discharge of toxic chemical(s) into the rivers
      and watersheds that supply drinking water to the City of Rome and its
      water subscribers.

      RESPONSE: Johnson admits he is not seeking damages in the Underlying

Lawsuit based on Cycle Tex’s discharge of toxic chemicals directly into the rivers

and watersheds that supply drinking water to the City of Rome and its water

subscribers.

22.   Please admit that you are seeking damages in the Underlying Lawsuit
      based on Cycle Tex, Inc.’s intentional discharge of toxic chemical(s) into
      the rivers and watersheds that supply drinking water to the City of Rome
      and its water subscribers.

      RESPONSE: Denied as phrased by Plaintiff.

23.   Please admit that you are not seeking damages in the Underlying Lawsuit
      based on Cycle Tex, Inc.’s intentional discharge of toxic chemical(s) into
      the rivers and watersheds that supply drinking water to the City of Rome
      and its water subscribers.

      RESPONSE: Johnson admits he is not seeking damages in the Underlying

Lawsuit based on Cycle Tex’s intentional discharge of toxic chemicals directly into
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the rivers and watersheds that supply drinking water to the City of Rome and its

water subscribers.

This the 29th day of April, 2022

                                           As to objections,

                                           /s Brett C. Thompson
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14-point font, as mandated in Local Rule 5.1.C.


This 29th day of April, 2022.


                                             /s/ Brett C. Thompson




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                         CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing has been filed electronically with the

Clerk of Court by using the CM/ECF system which will automatically email all

counsel of record.


This 29th day of April, 2022.



                                             /s/ Brett C. Thompson




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